                      Case 4:20-cv-02254-YGR Document 336 Filed 07/27/23 Page 1 of 4


            1    LAUREN M. BLAS, SBN 296823                      MATTHEW M. LAVIN (pro hac vice)
                   lblas@gibsondunn.com                            Matt.Lavin@agg.com
            2    GIBSON, DUNN & CRUTCHER LLP                     AARON R. MODIANO (pro hac vice)
                 333 South Grand Avenue                            Aaron.Modiano@agg.com
            3    Los Angeles, CA 90071-3197                      ARNALL GOLDEN GREGORY LLP
                 Telephone: 213.229.7000                         1775 Pennsylvania Ave NW, Suite 1000
            4    Facsimile: 213.229.7520                         Washington, DC 20006
                                                                 Telephone: 202.677.4030
            5    GEOFFREY SIGLER (pro hac vice)                  Facsimile: 202.677.4031
                   gsigler@gibsondunn.com
            6    GIBSON, DUNN & CRUTCHER LLP                     DAVID M. LILIENSTEIN, SBN 218923
                 1050 Connecticut Avenue, N.W.                     david@dllawgroup.com
            7    Washington, D.C. 20036-5306                     KATIE J. SPIELMAN, SBN 252209
                 Telephone: 202.955.8500                           katie@dllawgroup.com
            8    Facsimile: 202.467.0539                         DL LAW GROUP
                                                                 345 Franklin Street
            9    Attorneys for Defendants UNITED                 San Francisco, CA 94102
                 BEHAVIORAL HEALTH and UNITED                    Telephone: 415. 678.5050
          10     HEALTHCARE INSURANCE COMPANY                    Facsimile: 415.358.8484
          11                                                     Attorneys for PLAINTIFFS
          12                                                     [ADDITIONAL COUNSEL LISTED ON
                                                                 SIGNATURE PAGE]
          13

          14

          15                                     UNITED STATES DISTRICT COURT

          16                                  NORTHERN DISTRICT OF CALIFORNIA

          17                                             OAKLAND DIVISION

          18     LD, DB, BW, RH and CJ, on behalf of             CASE NO. 4:20-cv-02254-YGR
                 themselves and all others similarly situated,
          19                                                     JOINT STIPULATION AND [PROPOSED]
                                        Plaintiffs,              ORDER TO CONTINUE CASE
          20                                                     MANAGEMENT CONFERENCE PER L.R.
                        v.                                       6-2
          21
                 UNITED BEHAVIORAL HEALTH, a                     Hon. Yvonne Gonzalez Rogers
          22     California Corporation, UNITED
                 HEALTHCARE INSURANCE COMPANY, a
          23     Connecticut Corporation, and MULTIPLAN,         Complaint filed: April 2, 2020
                 INC., a New York corporation,                   Third Amended Complaint filed: Sept. 10, 2021
          24
                                        Defendants.
          25

          26

          27

          28

Gibson, Dunn &
Crutcher LLP
                  JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE PER
                                               L.R. 6-2 – CASE NO. 4:20-CV-02254
                        Case 4:20-cv-02254-YGR Document 336 Filed 07/27/23 Page 2 of 4


            1                Plaintiffs LD, DB, BW, RH and CJ, United Behavioral Health and UnitedHealth Insurance
            2    Company (“United Defendants”) and MultiPlan, Inc. (“MultiPlan”), collectively the “Parties,” to the
            3    above-entitled action, regarding the matters set forth herein, jointly submit this stipulation pursuant to
            4    Civil Local Rule 6-2. In further support of this Stipulation, the Parties state as follows:
            5                WHEREAS, on June 23, 2023, this Court issued its Scheduling and Pretrial Order setting a
            6    case management conference for Monday, October 23, 2023 at 2:00 p.m. (Dkt. 319 at 1) via Zoom
            7    webinar and ordering the Parties to submit a joint case management conference statement seven days
            8    before the case management conference date (Dkt. 320 at 1);
            9                WHEREAS, lead counsel for United Defendants has a pre-existing and immovable travel
          10     obligation and therefore cannot attend the case management conference currently scheduled for
          11     October 23, 2023;
          12                 WHEREAS, the Parties have met and conferred and neither MultiPlan nor Plaintiffs have any
          13     objection to continuing the case management conference to October 30, 2023 and continuing the
          14     deadline to submit the case management conference statement to October 23, 2023, or until such later
          15     time that is convenient for the Court;
          16                 NOW, THEREFORE, subject to the approval of the Court, and for good cause shown, the
          17     Parties hereby stipulate and agree as follows:
          18                 The case management conference currently scheduled for October 23, 2023 at 2:00 p.m. is
          19     continued to October 30, 2023 at 2:00 p.m. or until such later time that is convenient for the Court.
          20     The Parties’ deadline to submit their joint case management conference statement is continued to
          21     October 23, 2023, or seven days in advance of the new case management conference date, whichever
          22     is later.
          23
                             IT IS SO STIPULATED.
          24
                 //
          25
                 //
          26
                 //
          27
                 //
          28
                                                                     2
Gibson, Dunn &
Crutcher LLP
                  JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE PER
                                               L.R. 6-2 – CASE NO. 4:20-CV-02254
                      Case 4:20-cv-02254-YGR Document 336 Filed 07/27/23 Page 3 of 4


            1    DATED: July 11, 2023
                                                     GIBSON, DUNN & CRUTCHER LLP
            2

            3
                                                     By: /s/ Geoffrey Sigler
            4                                                            Geoffrey Sigler
            5                                        Attorneys for Defendants UNITED BEHAVIORAL
                                                     HEALTH and UNITED HEALTHCARE INSURANCE
            6                                        COMPANY
            7
                 DATED: July 11, 2023                PHELPS DUNBAR LLP
            8

            9
                                                     By: /s/ Errol King
          10                                                                Errol King
          11                                         Attorneys for Defendant MULTIPLAN, INC.
          12                                         ERROL J. KING, JR. (admitted pro hac vice)
                                                     PHELPS DUNBAR LLP
          13                                         II City Plaza, 400 Convention Street, Suite 1100
                                                     Baton Rouge, Louisiana 70802
          14                                         Telephone: (225) 376-0207
                                                     Facsimile: (225) 381-9197
          15                                         Errol.King@phelps.com
          16
                 Dated: July 11, 2023                ARNALL GOLDEN GREGORY LLP
          17

          18
                                                     By: /s/ Matthew M. Lavin
          19                                                          Matthew M. Lavin
          20

          21     Dated: July 11, 2023                DL LAW GROUP
          22

          23                                         By: /s/ David Lilienstein
                                                                        David Lilienstein
          24

          25
                                                     Attorneys for PLAINTIFFS
          26

          27

          28
                                                         3
Gibson, Dunn &
Crutcher LLP
                  JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE PER
                                               L.R. 6-2 – CASE NO. 4:20-CV-02254
                      Case 4:20-cv-02254-YGR Document 336 Filed 07/27/23 Page 4 of 4


            1                                        [PROPOSED] ORDER
            2           Having considered the Parties’ Joint Stipulation and [Proposed] Order, the Court HEREBY

            3    ORDERS as follows:

            4
                        The case management conference currently scheduled for October 23, 2023 at 2:00 p.m. is
            5
                 continued until October 30, 2023 at 2:00 p.m. The Parties’ deadline to submit their joint case
            6
                 management conference statement is continued to October 23, 2023.
            7

            8           PURSUANT TO STIPULATION, IT IS SO ORDERED.

            9

          10
                  Dated: 7/27/20023                _________________________________________________
          11                                                 The Hon. Yvonne Gonzalez Rogers
                                                        UNITED STATES DISTRICT COURT JUDGE
          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
                                                                4
Gibson, Dunn &
Crutcher LLP
                  JOINT STIPULATION AND [PROPOSED] ORDER TO CONTINUE CASE MANAGEMENT CONFERENCE PER
                                               L.R. 6-2 – CASE NO. 4:20-CV-02254
